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                                                                             2015 Dec-03 PM 04:38
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION
MONICA TAYLOR, IDABEL                      }
NETTLES,                                   }
                                           }
      Plaintiffs,                          }
                                           }   Case No.: 5:13-cv-02160-MHH
v.                                         }
                                           }
AARON’S INC., RICHARD                      }
EUGENE HALL ,                              }
                                           }
      Defendants.                          }


                                  FINAL ORDER

      Consistent with the parties’ joint stipulation of dismissal (Doc. 26), the

Court DISMISSES WITH PREJUDICE plaintiffs Monica Taylor’s and Idabel

Nettles’s claims against defendants Aaron’s, Inc. and Richard Eugene Hall. Costs

are taxed as paid. The Court asks the Clerk to please close the file.


      DONE and ORDERED this December 3, 2015.


                                    _________________________________
                                    MADELINE HUGHES HAIKALA
                                    UNITED STATES DISTRICT JUDGE
